IN THE UNITED STATES DISTRICT COURT FOR THE
WESTERN DISTRICT OF MISSOURI

WESTERN DIVISION
UNITED STATES OF AMERICA,
Plaintiff,
V. Case No. 19-00003-04-CR-W-BP

NATHANIEL JOSHUA DENNETT,

 

Defendant.
PLEA AGREEMENT

Pursuant to Rule 11(c)(1)(B) of the Federal Rules of Criminal Procedure, the parties
described below have entered into the following plea agreement:

1, The Parties. The parties to this agreement are the United States Attorney’s Office for
the Western District of Missouri (otherwise referred to as “the Government” or “the
United States”), represented by Timothy A. Garrison, United States Attorney, and Bruce Rhoades,
Assistant United States Attorney, and the defendant, NATHANIEL JOSHUA DENNETT (“the
defendant”), represented by F.A. “Al” White, Jr.

The defendant understands and agrees that this plea agreement is only between him and
the United States Attorney for the Western District of Missouri, and that it does not bind any other
federal, state, or local prosecution authority or any other government agency, unless otherwise

specified in this agreement.

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2. Defendant’s Guilty Plea. The defendant agrees to and hereby does plead guilty to
Count One of the indictment charging the defendant with a violation of 21 U.S.C. §§ 841(a)(1),
(b)(1)(A) and 846, that is, conspiracy to distribute 500 grams or more of methamphetamine;

The defendant agrees to and hereby does plead guilty to Count Two of the indictment
charging the defendant with a violation of 18 U.S.C. § 1956(a)(1)(A)(i), (B)(i), (ii) and (h) that is,
conspiracy to commit money laundering; and

The defendant admits the allegations of forfeiture, which also include a money
judgment to be entered against the defendant, as contained in the indictment.

By entering into this plea agreement, the defendant admits that he knowingly committed

these offenses, and is in fact guilty of these offenses.

3. Factual Basis for Guilty Plea. The parties agree that the facts constituting the
offenses to which the defendant is pleading guilty are as follows:

The dates of this conspiracy run between January 01, 2011, and February, 2019, This
investigation was initiated from information received from cooperating defendants, as well as
additional law enforcement information, regarding Gregory Evanoff and his methamphetamine
distribution activities. Evanoff was a large-scale methamphetamine distributor who shared a
source of supply with his brother-in-law Christopher Loree, Sr., who was indicted for
methamphetamine conspiracy in Kansas. After Loree, Sr., was arrested, Evanoff took over
supplying multiple ounce quantities of methamphetamine to Defendant Nathanial Joshua
Dennett, Christopher Loree, Jr., Krystal Mann, Danny Campbell, Jr., Shawn Evans, James Jorden,
Brooke Oliver and Justin Saighman. Evanoff also supplied numerous other federally indicted
defendants with multiple ounce quantities of methamphetamine, including Brandy Morgan,
Sabrina Morgan and Tommy Cambiano. Though a financial investigation it was determined that
Greg Evanoff and his wife, Rita Evanoff, used the proceeds of the drug trafficking activity to
purchase vehicles and also purchase and remodel their home in Kansas City, Missouri.
Information obtained in the investigation also indicated that Greg Evanoff was one of many people
responsible for supplying methamphetamine to the Galloping Goose Motorcycle Club.

On 01/25/2011, Kansas City, Missouri, Police Officers served a search warrant at the
residence of Greg and Rita Evanoff in Kansas City Missouri. They seized methamphetamine and
took Greg Evanoff, Rita Evanoff and Shawn Evans into custody. On the same date, they served
a search warrant at the residence of Defendant Nathaniel Joshua Dennett, a/k/a “Nate,” where
they recovered a handgun and a stolen Harley Davidson motorcycle. Because of those crimes,

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Dennett was convicted of felon in possession of a firearm and sentenced to federal prison. Greg
Evanoff was convicted of possession of methamphetamine and sentenced to the Missouri
Department of Corrections.

On January 24, 2017, KM stated she was in a relationship with Danny Campbell, Jr., from
November 2015 through February 2016. KM stated they purchased methamphetamine from TM
and Defendant Nathaniel Joshua Dennett. KM said Campbell, Jr., was paying $6,000 for one
pound of meth. KM said Campbell, Jr., was delivering methamphetamine to Kirksville, Missouri,
to TT. KMstated TT later began transporting methamphetamine for Campbell, Jr., while he was
in Kansas City for approximately two weeks. Campbell, Jr., was purchasing 2 pound to one
pound of methamphetamine at a time in Kansas City and was purchasing meth every other day.

On 02/22/2017, KM stated that Christopher Loree a/k/a “Big Chris” distributes ounces of
methamphetamine in Clay County, Missouri. KM stated Loree’s son Christopher Loree, Jr., a/k/a
“Tittle Chris” and Defendant Nathaniel Joshua Dennett a/k/a “Nate” work for “Big Chris”
storing and distribution methamphetamine.

On 11/21/2017, TT said she obtained methamphetamine trom Tommy Cambiano and
Nathaniel Dennett. She said she met Cambiano through Danny Campbell, Jr. TT stated
Nathaniel Dennett was Cambiano’s supplier. TT stated she got five (5) to six (6) ounces of
methamphetamine from Cambiano at a time approximately every three (3) days. She stated she
obtained the methamphetamine from Cambiano at that frequency for over six (6) months from the
summer of 2016 until April of 2017. TT stated when dealing with Cambiano, she observed
Cambiano in possession of “pounds” of methamphetamine every time she was at Cambiano’s
residence. TT stated Dennett lived with “Little Chris.” TT stated she had been inside “Nates”
house four (4) or five (5) times with Danny Campbell, Jr. She stated she and Campbell picked up
six (6) to seven (7) ounces of methamphetamine from “Nate” every other day during the eight (8)
months they were together. TT indicated the most Campbell ever purchased from “Nate” at one
time was approximately three (3) pounds. TT stated she stayed in the vehicle during that
transaction, which took place at “Nate’s” house in May or June of 2016. She said no other
transactions were over a pound.

On 12/20/2017, Cooperating Defendant 1 (CD1) stated she met Greg Evanoff in the spring
of 2016. Evanoff came to her house and talked to her about selling methamphetamine for him.
Evanoff left from that meeting and returned a short time later and gave her a pound of
methamphetamine “on front” to sell and pay him for when she resupplied. CD1 stated she sold
the whole pound for $450 per ounce in two hours and called Evanoff back for more. CD1 stated
that from that point on she started going to Greg and Rita Evanoff’s house every other day. CDI
got half pound to pound and a half quantity of methamphetamine from Greg Evanoff each trip.
CD1 kept 1000 grams of methamphetamine in a safe in her house and occasionally other customers
of Greg Evanoff’s would come there and pick up methamphetamine from her if Greg and Rita
were not around. CD1 identified a provided photograph of Christopher Loree, Jr. CD1 stated
she had gone to meet “Little Chris” at Nate’s house on the corner one time to pick up two ounces
of methamphetamine and take it to Greg Evanoff one time. CD1 stated she had delivered a quarter
pound of methamphetamine to “Little Chris” one time at the Grand Slam liquor store in downtown

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Kansas City as well. “Little Chris” was usually at Greg and Rita Evanoff’s house and “Little
Chris” would get two pounds at a time. CD1 estimated that she had been to the house 100 times
and “Little Chris” was there 75 of those times. CDI identified a provided photograph of
Nathaniel Dennett as “Nate.” CD1 stated she started dealing with Nate Dennett a couple
months prior to her arrest. CD1 stated Nate Dennett had been kicked out of his house and that
she knew he would need a source for methamphetamine. CD1 stated she met Nate for lunch and
they talked it over before she started supplying him with quantities ranging from “Eight balls” to
two ounces ata time. CDI stated this went on for that two-month period and estimated she had
provided Nate Dennett with 10 ounces of methamphetamine, total.

On 03/11/18, RP stated he accompanied Krystal Mann to pick up multiple ounce quantities
of methamphetamine from Nate Dennett on at least ten occasions when they would get at least
two ounces of methamphetamine for $300-$350 per ounce.

On 05/10/2018, Dennett admitted he had previously been involved in methamphetamine
distribution with Greg Evanoff. Evanoff usually picked up methamphetamine by meeting with a
source of supply at a restaurant near the Plaza or Westport areas of Kansas City, Missouri.
Evanoff and the unknown source would each bring a woman along to the meeting. The two
women would go to the restroom together and would switch bags or transfer the meth from one
bag to the other’s bag. Dennett advised the women would then walk out and Evanoff would
leave with a woman holding a bag containing the methamphetamine. Rita Evanoff was not used
to conduct these transactions, but girls that hung out with Greg Evanoff and motorcycle gangs
were used. Evanoff and an unknown courier had a key to a locker at the bus station and every
Thursday, 10 pounds of methamphetamine would be placed in the locker for Evanoff to pick up.
Dennett paid approximately $5,500 per pound and $10,500 per kilo for methamphetamine from
Evanoff. Evanoff used his drug proceeds to buy cars, motorcycles, and RVs and to completely
remodel the Evanoff’s house in Kansas City, Missouri. Dennett saw Evanoff holding more than
five pounds of methamphetamine on at least twelve occasions.

Co-Defendant Saighman was arrested on this indictment in a hotel by KCMOPD. At that
time, he admitted to buying methamphetamine throughout the conspiracy in ounce quantities from
“Little Chris” Loree, Greg Evanoff, Oliver and Defendant Nathaniel Joshua Dennett.

Defendant agrees the United States’ evidence of his total drug responsibility is more than
5 kilograms of methamphetamine for which the defendant is responsible for distributing or
possessing with the intent to distribute. The defendant further acknowledges the substances with
which defendant was involved were in fact methamphetamine, a Schedule II controlled substance.
Finally, defendant acknowledges that at least some acts committed in furtherance of this
distribution conspiracy were committed within the Western District of Missouri, during the dates
alleged in the indictment.

Defendant additionally acknowledges that during the dates charged in the indictment, and
at least partially within the Western District of Missouri, the defendant used or knew at least some
of the proceeds obtained from defendant’s methamphetamine distribution, and the distribution of
others in the conspiracy, were used to pay living expenses, buy assets, and to purchase additional

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methamphetamine for distribution. Defendant also acknowledges that he and other co-
conspirators used cash during the conspiracy to conceal the nature of their illegal activities.

Defendant further acknowledges that all the proceeds from all the drugs sold in the
conspiracy, any use of proceeds, any items purchased with proceeds, or utilized in the conspiracy,
or obtained through operation of the conspiracy, are subject to forfeiture. Additionally, defendant
admits, agrees, and accepts that the facts herein, the drug price calculations contained within the
indictment (adopted herein by the parties), and the drug level for which the Court ultimately holds
defendant responsible, are the basis for the money judgment to be imposed against defendant
pursuant to his admission of the allegations of forfeiture and the money judgment contained within
the indictment.

Additional evidence exists that may further implicate the detendant in these conspiracies.
The defendant acknowledges that evidence was provided to defendant’s attorney via discovery and
the defendant has had an opportunity to review it with the attorney prior to signing this plea
agreement and further acknowledges that evidence, and any additional evidence obtained prior to
sentencing, may affect the ultimately determined drug responsibility level and sentence of the
defendant.

The parties have agreed to a drug level not fess than a drug level 34, and have agreed to a
guidelines enhancement of: two (2) levels because of defendant’s guilty plea to the money
laundering conspiracy. However, it is understood by the parties that the pre-sentence
investigation or the Court at sentencing could assess a higher drug level of responsibility, and other
enhancements, for the defendant based on the evidence in the case to date or that becomes known
later. In the event a higher drug level, or other enhancements, are determined by the pre-sentence
investigation or the Court at sentencing, the parties are free to express their respective positions
about that higher drug level, or other enhancements, at sentencing. However, the defendant
acknowledges that he agrees that the United States will only be required to produce law
enforcement witness to support the PSR, if that is necessary.

Finally, defendant acknowledges the pre-sentence investigation and the Court at
sentencing, in calculating defendant’s drug responsibility and applicable sentence range, may use
either methamphetamine mixture and substance or methamphetamine actual.

4, Use of Factual Admissions and Relevant Conduct. The defendant acknowledges,
understands and agrees that the admissions contained in Paragraph 3 and other portions of this plea
agreement will be used for the purpose of determining defendant’s guilt and advisory sentencing
range under the United States Sentencing Guidelines (“U.S.8.G.”), including the calculation of the

defendant’s offense level in accordance with U.S.S.G. §1B1.3(a)(2). The defendant

acknowledges, understands and agrees that the conduct charged in any dismissed counts of the

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indictment as well as all other uncharged related criminal activity may be considered as “relevant
conduct” pursuant to U.S.S.G. § 1B1.3(a)(2) in calculating the offense level for the charges to
which defendant is pleading guilty.

5. Statutory Penalties. The defendant understands that upon pleading guilty to Count
One of the indictment charging the defendant with a violation of 21 U.S.C. §§ 841(a)(1), (b)(1)(A)
and 846, that is, conspiracy to distribute 500 grams or more of methamphetamine, the minimum
penalty the Court may impose is ten (10) years imprisonment, while maximum penalty the Court
may impose is not more than life imprisonment and not more than a $10,000,000.00 fine. In
addition, that the Court shall impose not less than five (5) years of supervised release and that, this
offense is a Class A felony.

The defendant understands that upon pleading guilty to Count Two of the indictment
charging the defendant with a violation of 18 U.S.C. § 1956(a)(1)(A)Q@), (B)G), (ii) and (h) that is,
conspiracy to commit money laundering, the maximum penalty the Court may impose is not more
than twenty (20) years’ imprisonment and not more than a $500,000.00 fine. In addition, that the
Court shall impose not more than three (3) years of supervised release and that this offense is a
Class C felony.

Additionally, the defendant understands that the criminal forfeiture allegations admission,
will allow the Court to enter a money judgment against the defendant in an amount not to exceed
$1,750,000. The final amount will be determined from the weight of the defendant’s controlled
substance responsibility ultimately determined by the Court at sentencing and the controlled
substance value calculations contained within the indictment, ic. $500.00 per ounce of
methamphetamine.

The defendant understands that for each count of conviction the Court shall impose a $100
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mandatory special assessment, which must be paid in full prior to sentencing in this case. Failure
to timely pay said assessment could result in the Government seeking a continuance of the
sentencing until it is paid OR, in the alternative, the Government can consider the failure to timely
pay it as a violation of this plea agreement and seek to have this agreement voided.

6. Sentencing Procedures. The defendant acknowledges, understands and agrees to the

following:

a. in determining the appropriate sentence, the Court will consult and
consider the United States Sentencing Guidelines promulgated by the United States
Sentencing Commission; these Guidelines, however, are advisory in nature, and the
Court may impose a sentence either less than or greater than the defendant’s
applicable Guidelines range;

b. the Court will determine the defendant’s applicable Sentencing
Guidelines range at the time of sentencing;

c. in addition to a sentence of imprisonment, the Court shall impose a term
of supervised release of not less than five (5) years;

d. if the defendant violates a condition of supervised release, the Court
may revoke that supervised release and impose an additional period of
imprisonment without credit for time previously spent on supervised release. In
addition to a new term of imprisonment, the Court also may impose a new period
of supervised release;

e. the Court may impose any sentence authorized by law, including a
sentence that is outside of, or departs from, the applicable Sentencing Guidelines
range and the Court may impose sentences concurrently or consecutively;

f. any sentence of imprisonment imposed by the Court will not allow for
parole;

g. the Court is not bound by any recommendation regarding the sentence
to be imposed or by any calculation or estimation of the Sentencing Guidelines
range offered by the parties or the United States Probation Office;

h. the defendant may not withdraw this guilty plea solely because of the
nature or length of the sentence imposed by the Court;

i. the defendant agrees that the United States may institute civil, judicial
or administrative forfeiture proceedings against all forfeitable assets in which the

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defendant has an interest, and that defendant will not contest any such forfeiture
proceedings;

j. the defendant agrees to forfeit all interests defendant owns or over which
defendant exercises control, directly or indirectly, in any asset that is subject to
forfeiture to the United States either directly or as a substitute for property that was
subject to forfeiture but is no longer available for the reasons set forth in 21 U.S.C.
§ 853(p), including but not limited to the following specific property: a money
Judgment in an amount to be based upon defendant's drug responsibility ultimately
determined by the Court at sentencing and the drug value calculations contained
within the indictment, i.e. $500.00 per ounce of methamphetamine, but not to
exceed $1,750,000. With respect to any asset which the defendant has agreed to
forfeit, the defendant waives any constitutional and statutory challenges in any
manner (including direct appeal, habeas corpus, or any other means) to any
forfeiture carried out in accordance with this plea agreement on any grounds,
including that the forfeiture constitutes an excessive fine or punishment under the
Eighth Amendment to the United States Constitution;

k. The defendant agrees to take all necessary steps to comply with the
forfeiture matters set forth herein before sentencing.

7. Government’s Agreements. Based upon evidence in its possession at this time, the
United States Attorney’s Office for the Western District of Missouri, as part of this plea agreement,
agrees not to bring any additional charges against defendant for any criminal offenses related to
the charges defendant has pled to herein for which it has venue and which arose out of the
defendant’s conduct described above.

The defendant understands that the United States’ agreement to forego prosecution of
additional criminal offenses with which the defendant might be charged are based solely on the
promises made by the defendant in this agreement and the limitations set out herein. If the
defendant breaches this plea agreement, the United States retains the right to proceed with the
original charges and any other applicable criminal violations. The defendant expressly waives
any right to challenge the initiation of the dismissed or additional charges against defendant if

defendant breaches this agreement. The defendant expressly waives any right to assert a statute

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of limitations defense if the dismissed or additional charges are initiated against defendant
following a breach of this agreement. The defendant further understands and agrees that if the
Government elects to file additional charges against defendant following breach of this plea
agreement, defendant will not be allowed to withdraw this guilty plea.

The defendant further understands that nothing in this plea agreement prevents any
prosecution for any act of violence or commission of a sex crime or an attempted violent or sex
crime act or a conspiracy to commit any violent or sex crime act. This plea agreement also does
not prevent prosecution of any criminal activity of which the United States Attorney for the
Western District of Missouri has no knowledge. The defendant understands and agrees that if the
Government files charges against defendant pursuant to one of these exceptions, defendant will
not be allowed to withdraw this guilty plea.

8. Preparation of Presentence Report. The defendant understands the United States
will provide to the Court and the United States Probation Office a government version of the
offense conduct. This may include information concerning the background, character, and
conduct of the defendant, including the entirety of defendant’s criminal activities. The defendant
understands these disclosures are not limited to the counts to which defendant has pleaded guilty.

The United States may respond to comments made or positions taken by the defendant,
defendant’s counsel or anyone on defendant’s behalf and to correct any misstatements or

inaccuracies. The United States further reserves its right to make any recommendations it deems

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appropriate regarding the disposition of this case, subject only to any limitations set forth in this
plea agreement. The United States and the defendant expressly reserve the right to speak to the
Court at the time of sentencing pursuant to Rule 32(i)(4) of the Federal Rules of Criminal

Procedure,

9. Withdrawal of Plea. Either party reserves the right to withdraw from this plea
agreement for any or no reason at any time prior to the entry of the defendant’s plea of guilty and
its formal acceptance by the Court. In the event of such withdrawal, the parties will be restored
to their pre-plea agreement positions to the fullest extent possible. However, after the plea is
formally accepted by the Court, the defendant may only withdraw these pleas of guilty if the Court
rejects the plea agreement or if the defendant can show a fair and just reason for requesting the
withdrawal. The defendant understands that if the Court accepts defendant’s pleas of guilty and
this plea agreement but subsequently imposes a sentence that is outside the defendant’s applicable
Sentencing Guidelines range, or imposes a sentence that the defendant does not expect, like or
agree with, that will not permit defendant to withdraw these pleas of guilty.

10. Agreed Guidelines Applications. With respect to the application of the Sentencing
Guidelines to this case, the parties stipulate and agree as follows:

a. The Sentencing Guidelines do not bind the Court and are advisory in
nature; the Court may impose a sentence that is within, above, or below the
defendant’s ultimately determined Guidelines range; the Court may impose any
multiple sentences to be served concurrently or consecutively;

b. The applicable Guidelines section for the offense of conviction is
U.S.S.G, § 2D1.1, which provides for not less than a base offense level 34, but the
parties reserve the right to address at sentencing the pre-sentence or Court
determined drug level;

¢. The parties agree the defendant is subject to a two-level enhancement

under the guidelines for the money laundering conviction. While the parties
recognize there might be other specific aggravating or mitigating U.S.S.G.

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applications applicable to this defendant, the parties elect to address at the
sentencing hearing any found by the pre-sentence report or Court and agree to be
bound by the Court’s determination following the sentencing hearing;

d. The defendant appears to have admitted his guilt and accepted
responsibility for his actions, and by timely notifying authorities of the intention to
enter a plea of guilty has thereby permitted the Government to avoid preparing for
trial and permitted the Government and the Court to allocate their resources
efficiently. Therefore, the defendant appears entitled to a three-level reduction
pursuant to § 3E1.1(b) of the Sentencing Guidelines and the Government, at the
time of sentencing, will make a motion with the Court to that effect unless the
defendant (1) fails to abide by all of the terms and conditions of this plea agreement
and any pretrial release orders; or (2) attempts to withdraw this guilty plea; or
(3) violates the law; or (4) otherwise engages in conduct inconsistent with an
acceptance of responsibility;

e. There is no agreement between the parties regarding the defendant’s
criminal history category. The parties agree that the Court will determine the
applicable criminal history category after receipt of the presentence investigation
report prepared by the United States Probation Office;

f. The defendant understands that the estimate of the parties with respect
to the Guidelines computation set forth in the subsections of this paragraph does
not bind the Court or the United States Probation Office with respect to the
appropriate Guidelines levels. Additionally, the failure of the Court to accept these
stipulations will not, as outlined in Paragraph 9 of this plea agreement, provide the
defendant with a basis to withdraw this plea of guilty;

g. The United States agrees to request a sentence within the United States
Sentencing Guidelines range established at the sentencing hearing, and the
defendant agrees to request a reasonable sentence, including a departure or a
variance, based on any good faith sentencing arguments the defendant cares to
make that are not otherwise in conflict with agreements herein, or the law. The
sentencing argument agreements by the parties are not binding upon the Court or
the United States Probation Office and the Court may impose any sentence
authorized by law, including a sentence outside the applicable Guidelines range or
a consecutive sentence;

h. The defendant consents to judicial fact-finding by a preponderance of
the evidence for all issues pertaining to the determination of the defendant’s
sentence, including the determination of any mandatory minimum sentence
(including the facts that support any specific offense characteristic or other
enhancement or adjustment), and any legally authorized increase above the normal
statutory maximum. The defendant waives any right to a jury determination
beyond a reasonable doubt of all facts used to determine and enhance the sentence

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imposed, and waives any right to have those facts alleged in the indictment. The

defendant also agrees that the Court, in finding the facts relevant to the imposition

of sentence, may consider any reliable information, including hearsay; and,

i. The defendant understands and agrees that the factual admissions
contained in Paragraph 3 or other places within this plea agreement, and any
admissions made during the defendant’s plea colloquy, support the imposition of
the agreed-upon Guidelines calculations contained in this agreement.

11. Effect of Non-Agreement on Guidelines Applications. The parties understand,
acknowledge and agree that there are no agreements between the parties with respect to any
Sentencing Guidelines issues other than those specifically listed in Paragraph 10. As to any other
Guidelines issues, the parties are free to advocate their respective positions at the sentencing
hearing.

12. Change in Guidelines Prior to Sentencing. The defendant agrees that if any
applicable provision of the Guidelines changes after the execution of this plea agreement, then any
request by defendant to be sentenced pursuant to the new Guidelines will make this plea agreement
voidable by the United States atits option. Ifthe Government exercises its option to void the plea

agreement, the United States may charge, reinstate, or otherwise pursue any and all criminal

charges that could have been brought but for this plea agreement.

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13. Government’s Reservation of Rights. The defendant understands that the

United States expressly reserves the right in this case to:

a. oppose or take issue with any position advanced by defendant, or
anyone on behalf of the defendant, at the sentencing hearing which might be
inconsistent with the provisions of this plea agreement;

b. comment on the evidence supporting the charges in the indictment;

¢. oppose any arguments and requests for relief the defendant, or anyone
on defendant’s behalf, might advance on an authorized appeal from the sentences
imposed and that the United States remains free on appeal or collateral proceedings
to defend the legality and propriety of the sentence actually imposed, even if the
Court chooses not to follow any recommendation made by the United States; and

d. oppose any post-conviction motions for reduction of sentence, or other
relief.

14. Waiver of Constitutional Rights. The defendant, by pleading guiity, acknowledges

that defendant has been advised of, understands, and knowingly and voluntarily waives the

following rights:
a. the right to plead not guilty and to persist in a plea of not guilty;

b. the right to be presumed innocent until defendant’s guilt has been
established beyond a reasonable doubt at trial;

c. the right to a jury trial, and at that trial, the right to the effective
assistance of counsel;

d. the right to confront and cross-examine the witnesses who testify
against the defendant;

e. the right to compel or subpoena witnesses to appear on defendant’s
behalf; and

f. the right to remain silent at trial, in which case that silence may not be
used against defendant.

The defendant understands that by pleading guilty, he waives or gives up those rights and

that there will be no trial. The defendant further understands that if he pleads guilty, the Court
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may ask questions about the offense or offenses to which defendant pleaded guilty, and if the
defendant answers those questions under oath and in the presence of counsel, those answers may
later be used against defendant in a prosecution for perjury or making a false statement. The
defendant also understands he has pleaded guilty to a felony offense and, as a result, will lose the
right to possess a firearm or ammunition and might be deprived of other rights, such as the right

to vote or register to vote, hold public office, or serve on a jury.

15. Waiver of Appellate and Post-Conviction Rights

a. The defendant acknowledges, understands and agrees that by his
unconditional plea of guilty pursuant to this plea agreement he waives the right to
appeal or collaterally attack a finding of guilt or denial of a motion to withdraw his
guilty pleas following the acceptance of his pleas of guilty pursuant to this plea
agreement, except on grounds of (1) ineffective assistance of counsel; or
(2) prosecutorial misconduct.

b. The defendant expressly waives the right to appeal any sentence,
directly or collaterally, on any ground except claims of (1) ineffective assistance of
counsel; (2) prosecutorial misconduct; or (3) an illegal sentence. An “illegal
sentence” is a sentence imposed in excess of the statutory maximum. It is not a
misapplication or miscalculation of the Sentencing Guidelines, an abuse of
discretion, the imposition of an unreasonable sentence, or the imposition of a
sentence different from that recommended by either party. However, if the
United States exercises its right to appeal the sentence imposed as authorized by
18 U.S.C. § 3742(b), the defendant is released from this waiver and may, as part of
the Government’s appeal, cross-appeal the sentence as authorized by 18 U.S.C.
§ 3742(a) with respect to any issues that have not been stipulated to or agreed upon
in this agreement.

16. Financial Obligations. By entering into this plea agreement, the defendant states
an understanding of and agrees to the following financial obligations:
a. The United States may use the Federal Debt Collection Procedures Act

and any other remedies provided by law to enforce any restitution order that may
be entered as part of the sentence in this case and to collect any fine or costs.

b. The defendant will fully and truthfully disclose all assets and property
in which defendant has any interest, or over which the defendant exercises control
directly or indirectly, including assets and property held by a spouse, nominee or

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other third party. The defendant’s disclosure obligations are ongoing, and are in
force from the execution of this agreement until the defendant has satisfied the
restitution or fine or costs order in full.

c. Within 10 days of the execution of this plea agreement, at the request of
the USAO, the defendant agrees to execute and submit (1) a Tax Information
Authorization form; (2) an Authorization to Release Information; (3) a completed
financial disclosure statement; and (4) copies of financial information that the
defendant submits to the U.S. Probation Office. The defendant understands that
compliance with these requests will be taken into account when the United States
makes a recommendation to the Court regarding the defendant’s acceptance of
responsibility.

d. At the request of the USAO, the defendant agrees to undergo any
polygraph examination the United States might choose to administer concerning
the identification and recovery of substitute assets, restitution, fines, or costs.

e. The defendant hereby authorizes the USAO to obtain a credit report
pertaining to defendant to assist the USAO in evaluating the defendant’s ability to
satisfy any financial obligations imposed as part of the sentence.

f. The defendant understands that a Special Assessment will be imposed
as part of the sentence in this case. The defendant promises to pay the Special
Assessment of $200.00 by submitting a satisfactory form of payment to the Clerk
of the Court prior to appearing for the sentencing proceeding in this case. The
defendant agrees to provide the Clerk’s receipt as evidence of fulfillment of this
obligation at the time of sentencing.

g. The defendant certifies that no transfer of assets or property has been
made for the purpose of (1) evading financial obligations created by this
Agreement; (2) evading obligations that may be imposed by the Court; nor
(3) hindering efforts of the USAO to enforce such financial obligations.
Moreover, the defendant promises that no such transfers will be made in the future.

h. In the event the United States learns of any misrepresentation in the
financial disclosure statement, or of any asset in which the defendant had an interest
at the time of this plea agreement that is not disclosed in the financial disclosure
statement, and in the event such misrepresentation or nondisclosure changes the
estimated net worth of the defendant by ten thousand dollars ($10,000.00) or more,
the United States may at its option: (1) choose to be relieved of its obligations under
this plea agreement; or (2) let the plea agreement stand, collect the full forfeiture,
restitution, and fines imposed by any criminal or civil judgment, and also collect
100% (one hundred percent) of the value of any previously undisclosed assets.
The defendant agrees not to contest any collection of such assets. In the event the
United States opts to be relieved of its obligations under this plea agreement, the

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defendant’s previously entered pleas of guilty shall remain in effect and cannot be
withdrawn.

17. Waiver of FOIA Request. The defendant waives any and all rights, whether
asserted directly or by a representative, to request or receive from any department or agency of the
United States any records pertaining to the investigation or prosecution of this case including,
without limitation, any records that may be sought under the Freedom of Information Act, 5 U.S.C.
§ 552, or the Privacy Act of 1974, 5 U.S.C. § 552a.

18. Waiver of Claim for Attorney’s Fees. The defendant waives all claims under the
Hyde Amendment, 18 U.S.C. § 3006A, for attorney’s fees and other litigation expenses arising out
of the investigation or prosecution of this matter.

19. Defendant Will Surrender to Custody at the Plea. The defendant understands that
the crime to which he is pleading is an offense for which a maximum term of imprisonment of ten
years or more is prescribed in the Controlled Substances Act. Accordingly, pursuant to 18 U.S.C.
§ 3143(a)(2), the Court must detain the defendant after he pleads guilty to the offense. Regardless
of his current custody situation, the defendant hereby agrees not to contest his detention
immediately after the guilty plea, to surrender to the custody of the United States Marshals at that
time, and to not attempt release from custody pending sentencing or transfer to the Bureau of
Prisons following sentencing.

20. Defendant’s Breach of Plea Agreement. If the defendant commits any crimes,
violates any conditions of release, or violates any term of this plea agreement between the signing
of this plea agreement and the date of sentencing, or fails to appear for sentencing, or if the
defendant provides information to the Probation Office or the Court that is intentionally

misleading, incomplete, or untruthful, or otherwise breaches this plea agreement, the United States

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will be released from its obligations under this agreement. The defendant, however, will remain
bound by the terms of the agreement, and will not be allowed to withdraw this plea of guilty.

The defendant also understands and agrees that in the event this plea agreement is violated,
all statements made by the defendant to law enforcement agents subsequent to the execution of
this plea agreement, any testimony given by defendant before a grand jury or any tribunal or any
leads from such statements or testimony shall be admissible against defendant in any and all
criminal proceedings. The defendant waives any rights under the United States Constitution, any
statute, Rule 11(f) of the Federal Rules of Criminal Procedure, Rule 410 of the Federal Rules of
Evidence, or any other federal rule that pertains to the admissibility of any statements made by
defendant subsequent to this plea agreement.

21. Defendant’s Representations. The defendant acknowledges that he has entered
into this plea agreement freely and voluntarily after receiving the effective assistance, advice and
approval of counsel. The defendant acknowledges that he is satisfied with the assistance of
counsel, and that counsel has fully advised him of his rights and obligations in connection with
this plea agreement. The defendant further acknowledges that no threats or promises, other than
the promises contained in this plea agreement, have been made by the United States, the Court, his
attorney or any other party to induce him to enter this plea of guilty.

22. No Undisclosed Terms. The United States and defendant acknowledge and agree
that the above-stated terms and conditions, together with any written supplemental agreement that
might be presented to the Court in camera, constitute the entire plea agreement between the parties,
and that any other terms and conditions not expressly set forth in this agreement or any written
supplemental agreement do not constitute any part of the parties’ agreement and will not be

enforceable against either party.
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23. Standard of Interpretation. The parties agree that, unless the constitutional
implications inherent in plea agreements require otherwise, this plea agreement should be
interpreted according to general contract principles and the words employed are to be given their
normal and ordinary meanings. The parties further agree that, in interpreting this agreement, any

drafting errors or ambiguities are not to be automatically construed against either party, whether

   
  
 

or not that party was involved in drafting or modifying this agreement.

Timothy A. Garrison

Unit mey
Dated: : / C, oC >
Bruce Rhoades”

Assistant United States Attorney

[have consulted with my attorney and fully understand all of my rights with respect to the
offenses charged in the indictment. Further, I have consulted with my attorney and fully
understand my rights with respect to the provisions of the Sentencing Guidelines and any statutory
minimums. I have read this plea agreement and carefully reviewed every part of it with my
attorney. J understand this plea agreement and I voluntarily agree to it,

  

Dated: i ( (2, 22

Defendan

[am the attorney for defendant NATHANIEL JOSHUA DENNETT. I have fully explained
his rights with respect to the offenses charged in the indictment. Further, I have reviewed with
him the provisions of the Sentencing Guidelines and any statutory minimum sentences applicable
in this case. I have carefully reviewed every part of this plea agreement with the defendant. To
my knowledge and belief, the decision by NATHANIE. ETT to enter into this
plea agreement is an informed and voluntary one.

Dated: | (lor Zv

  
   

 

A. “Al” White, Jr.
Attorney for Defendant

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